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                                                       BILL OF COSTS

                                                                      Date




                (itemize on page two)




        (please itemize)



SPECIAL NOTE:

                                                            Declaration




                                        Name of Claiming Party

                                                        Taxation of Costs



                Clerk of Court                                            Deputy Clerk   Date
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                                Witness Fees (computation, cf. 28 U.S.C. 1821 for statutory fees)




                                                                                                    TOTAL


                                                                NOTICE

Section 1924, Title 28, U.S. Code (effective September 1, 1948) provides:




See also Section 1920 of Title 28, which reads in part as follows:


The Federal Rules of Civil Procedure contain the following provisions:
RULE 54(d)(1)




RULE 6




RULE 58(e)
